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      ORDERED in the Southern District of Florida on April 2, 2017.




                                                         Laurel M. Isicoff
                                                         Chief United States Bankruptcy Judge




_____________________________________________________________________________
                       UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
      IN RE:
                                                              CASE NO.: 14-14698-LMI
      IRIS MILAGROS ORTIZ,                                    CHAPTER: 13
      JOSE RUBEN ORTIZ

                  DEBTORS.
      __________________________/

                     AMENDED1 ORDER GRANTING MOTION TO ALLOW LATE
                              FILED PROOF OF CLAIM (DE #130)

      THIS CAUSE came on for hearing on January 10, 2017, upon the Motion to Allow Late Filed

      Proof of Claim [DE #130] (the “Motion”) filed by Deutsche Bank Trust Company Americas,

      as Trustee for Residential Accredit Loans, Inc., Mortgage Asset-Backed Pass-Through

      Certificates Series 2006-QS8 (the “Movant”) on November 23, 2016. The Court, having

      considered the Motion and the record, finds that the Motion should be granted. Therefore, it is:

              ORDERED:
            1. The Motion to Allow Late Filed Proof of Claim is GRANTED.
            2. The Movant’s Claim No. 5 is an allowed secured claim in the amount filed.



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        This Order Amends the Amended Order Granting Motion to Allow Late Claim (DE #136), correcting the language
      in the Order
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Submitted By:

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By: /s/ Ashleigh C. McKenzie
Florida Bar No.: 123883


The party submitting this Order shall serve a copy of the signed order on all required
parties and file a certificate of service as required under Local Rule 2002-1 (F).

Copies furnished to:

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